                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                     )
 et al.,                                          )
                                                  )
                 Plaintiffs and                   )
                 Counterclaim Defendants,         )
                                                  )
 v.                                               )         Case No. 4:16-cv-02163
                                                  )
 PEOPLE FOR THE ETHICAL                           )
 TREATMENT OF ANIMALS, INC., et al.,              )
                                                  )
                 Defendants and                   )
                 Counterclaim Plaintiffs.         )

                                    [PROPOSED] ORDER

        Before the Court is the motion for summary judgment pursuant to Federal Rule of Civil

Procedure 56 by Counterclaim Plaintiffs, People for the Ethical Treatment of Animals, Inc. and

Angela Scott (together, “Plaintiffs”), against Counterclaim Defendant Andrew Sawyer

(“Sawyer”).

        Good cause appearing, IT IS HEREBY ORDERED that the motion is GRANTED in

all respects, as follows:

        1. Summary judgment is hereby entered against Sawyer because there is no genuine

            dispute that Sawyer has violated and continues to violate the Endangered Species Act

            and its implementing regulations, by unlawfully taking the chimpanzee Joey (“Joey”),

            a federally protected animal (16 U.S.C. § 1538(a)(1)(B), (G); 50 C.F.R. §§ 17.11(h),

            17.21(c), 17.31(a)), and by continuing to possess Joey who was unlawfully taken (16

            U.S.C. § 1538(a)(1)(D); 50 C.F.R. §§ 17.11(h), 17.21(d), 17.31(a));
      2. Sawyer’s ownership and possessory rights with respect to Joey are hereby terminated

         and Sawyer is prohibited from owning or possessing endangered or threatened

         animals in the future, and is hereby enjoined from otherwise violating the ESA; and

      (1) A hearing will take place on [            ], 2019, to address the appointment of a

         special master or guardian ad litem to determine placement of Joey at an appropriate

         Global Federation of Animal Sanctuaries accredited sanctuary, consistent with his best

         interests.



Date: __________________________                  _________________________
                                                  CATHERINE D. PERRY
                                                  UNITED STATES DISTRICT JUDGE




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